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AO 399 ((}1!09) Waiver ofthe Service of Summons

UNITED STATES DISTRICT CoURT
for the
Northern District of Illinois

Randy R. i.iebich
Pr'm'.ulr'y§i‘"
v.
illinois Department of Corrections et a|.
Dej§ndnn!

Civil Action No. 19-cv-00242

WAIVER OF THE SERVICE OF SUM.MONS

'l`o: Aiison R. Leff
(Nnme‘ oft/re denniij attorney or trm'e p'eseutcd denniij

 

i have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

f, or the entity l represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

l also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from 01123/2019 , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a defaultjudgrnent will be entered against me or the entity 1 represent

Date: Z’/'Z§t‘l O\.//MM

Signature 0 fthe attorney or um'ep'esemed party
tot them stage AJ

 

Pr'z'nted name 0 f parr y arriving service ofstmmrons P)'r')ztea' name

 

Address

 

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Duty to Avoid Unnccessary Expenscs of Ser'ving a Surnmons

Rule 4 ofthc chcral Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint A defendant who is located in the United Statcs and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

“Good cause’1 does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property

lfthe waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of servicel

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and tile a copy with the eourt. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.

